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                        UNITED STATES DISTRICT OF COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG               §                    MDL No. 2179
“DEEPWATER HORIZON” in the                    §
GULF OF MEXICO,                               §                     SECTION: J
on APRIL 20, 2010                             §
                                              §                   JUDGE BARBIER
       Applies to: All Cases                  §
                   2:10-cv-02771              §               MAG. JUDGE SHUSHAN
                                              §
                                              §

________________________________

  ORDER GRANTING HALLIBURTON ENERGY SERVICES INC.'S MOTION FOR
              LEAVE TO FILE DOCUMENTS UNDER SEAL

       On this day the Court heard and considered Halliburton Energy Services, Inc.'s Motion

for Leave to File Documents Under Seal.

       The Court after reviewing the Motion, finds that good cause has been shown, and that

Halliburton Energy Services, Inc.'s Motion should be and is in all things GRANTED.

       IT IS HEREBY ORDERED that Halliburton Energy Services, Inc. is permitted to file

under seal Exhibits 1-19 (as referenced in its Motion) to be included the record.

       Signed on the              day of October, 2011.



                                                          ____________________________________
                                                          UNITED STATES DISTRICT JUDGE




1775775 v1-24010/0002 PLEADINGS
